                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,                          :
Plaintiff,                                         :
                                                   :              CIVIL ACTION
                     v.                            :              No. 19-0519
                                                   :
SAFEHOUSE, a Pennsylvania nonprofit                :
Corporation;                                       :
JOSE BENITEZ, as President and                     :
Treasurer of Safehouse,                            :
Defendants.                                        :
_________________________________________

SAFEHOUSE, a Pennsylvania nonprofit                :
Corporation,                                       :
                Counterclaim Plaintiff,            :
                                                   :
                     v.                            :
                                                   :
UNITED STATES OF AMERICA,                          :
               Counterclaim Defendant,             :
                                                   :
                     and                           :
                                                   :
U.S. DEPARTMENT OF JUSTICE;                        :
WILLIAM P. BARR, in his official capacity          :
as Attorney General of the United States;          :
and WILLIAM M. McSWAIN, in his official            :
capacity as U.S. Attorney for the Eastern          :
District of Pennsylvania,                          :
                     Third-Party Defendants.       :



                                            ORDER

       This 2nd day of October, 2019, upon consideration of the Government’s Motion for

 Judgment on the Pleadings (ECF No. 47), and Safehouse’s response, it is hereby ORDERED

 that the Motion is DENIED. Accepting the facts in the pleadings as true, as required under Rule

 12 of the Federal Rules of Civil Procedure, 21 U.S.C. § 856 (a)(2) would not prohibit Safehouse
from establishing and operating an overdose prevention facility that provides medically

supervised consumption services.



                                                       /s/ Gerald Austin McHugh
                                                  United States District Judge
